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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

 

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STEVEN SZANTO, on behalf of himself and Ont
all others similarly situated, : t mai
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USKOPF, J. COLLECTIVE:ACTI
-against- ECF CASE ee :
IL BACCO RISTORANTE, INC. d/b/aILBACCO — :
and JOSEPH OPPEDISANO, : JURY TRIAL DEMANDED

Defendants. .._,., ;
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CETTE! |

Plaintiff Steven Szanto (“plaintiff”), on behalf of himself and all others similar‘y
situated, by his attorneys Berke-Weiss & Pechman LLP and Raymond Nardao, P.C.
complaining of defendants, II Bacco Ristorante, Inc. d/b/a II Bacco (“Il Bacco”), and
Joseph Oppedisano (collectively referred to herein as “defendants” ), alleges:

NATURE OF THE ACTION

1. This action is brought to recover unpaid minimum wages, unpaid
overtime wages and spread-of-hours pay, and other monies pursuant to the Fair Labor
Standards Act, 29 U.S.C. § 201, et seq. (“FLSA”), and the New York Labor Law § 190, et
seq. (““NYLL”).

2. II Bacco has failed to comply with the requirements of the FLSA and
NYLL by failing to compensate its employees at the statutory minimum wage and
overtime rates, failing to pay spread-of-hours, and unlawfully retaining gratuities owed
to the restaurant’s waitstaff.

3. Plaintiff seeks injunctive and declaratory relief against defendants’
unlawful actions and compensation for unpaid minimum wages, overtime and unpaid

spread-of-hours pay, liquidated damages, compensatory damages, punitive damages,

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pre-judgment and post-judgment interest, and attorneys’ fees and costs pursuant to the
FLSA and NYLL.
4, This action also seeks to recover misappropriated “service charges” which
Ii Bacco led its customers to believe were gratuities to be paid in their entirety to their
service staff but which were actually skimmed by the house. This practice was held by
the New York Court of Appeals in Samiento v. World Yacht Inc., 10 N.Y.3d 70 (2008), to
be unlawful. The Court of Appeals in Samiento stated:
We conclude that a charge that is not a voluntary payment
may be a “charge purported to be a gratuity” within the
meaning of the statute.
Id. at 74.
5. The Samiento case relied on NYLL § 196-d, which requires that:
No employer or his agent or an officer or agent of any
corporation, or any other person shall demand or accept,
directly or indirectly, any part of the gratuities, received by
an employee, or retain any part of a gratuity or of any charge
purported to be a gratuity for an employee.
JURISDICTION
6. This Court has subject matter jurisdiction of this case pursuant to
29 U.S.C. § 216(b), 28 U.S.C. § 1331, and has supplemental jurisdiction over plaintiff's
claims under the NYLL pursuant to 28 U.S.C. § 1367.
VENUE
7. Venue is proper in the Eastern District of New York under 28 U.S.C.

§1391, as i Bacco is located in the Eastern District of New York.

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THE PARTIES
Plaintiff

8. Steven Szanto (“Szanto”) resides in Queens, New York. Szanto worked as
a waiter at I] Bacco from on or about July 1, 2011 until on or about November 10, 2012.

9, At all times relevant to this action, Szanto has been an employee engaged
on behalf of the defendants in commerce or the production of goods for commerce.
Defendants

10. Defendant II Bacco Ristorante, Inc. is a New York corporation that owns
and operates II Bacco, a restaurant located at 253-24 Northern Boulevard, Little Neck,
NY 11363. II Bacco prepares and serves Italian cuisine for customers on its premises.

11. Defendant II Bacco Ristorante, Inc. d/b/a II Bacco is an “enterprise
engaged in interstate commerce” within the meaning of the FLSA. II Bacco has: (1)
employees engaged in commerce or in the production of goods for commerce and
handling, selling, or otherwise working on goods or materials that have been moved in
or produced for commerce by any person; and (2) an annual gross volume of sales in
excess of $500,000.

12. Defendant Joseph Oppedisano (“Oppedisano”) is an owner of II Bacco,
and is sued individually in his capacity as an owner, officer and/or agent of I! Bacco.
Oppedisano exercises sufficient control over I] Bacco’s operations to be considered
plaintiff's employer under the FLSA and NYLL, and at all times material herein
established and exercised authority regarding the pay practices at II Bacco.

COLLECTIVE ACTION ALLEGATIONS
13. The claims in this Complaint arising out of the FLSA are brought by

plaintiff on behalf of himself and similarly situated persons (i.e. non-exempt waitstaff).

 
14. The FLSA Collective consists of similarly situated current and former
employees of II Bacco who fell within the category of “tipped employees” who
customarily and regularly earn more than $30.00 per month in tips and, over the last
three years, have been victims of defendants’ common policy and practices that have
violated their rights under the FLSA by, inter alia, willfully denying them minimum and
overtime wages.

15.  Atany given time, II Bacco employs approximately fifteen (15) waiters,
busboys, and runners (the “waitstaff”), who fall under the category of “tipped
employees” pursuant to 29 U.S.C. § 203(t).

16. As part of its regular business practice, defendants have intentionally,
willfully, and repeatedly harmed Plaintiff and the FLSA Collective by engaging ina
pattern, practice, and/or policy of violating the FLSA. This policy and pattern or
practice includes, inter alia, the following:

a. depriving the waitstaff of tips that they earned;
b. failing to pay employees the minimum wage for all hours worked;

c. failing to pay employees the applicable overtime rate for all time worked
in excess of forty (40) hours per week;

d. failing to keep accurate records of hours worked by employees as required
by the FLSA and the NYLL,; and

e. shaving hours of employees.

17. Defendants have engaged in their unlawful conduct pursuant to a
corporate policy of minimizing labor costs and denying employees compensation by
knowingly violating the FLSA and the NYLL.

18. Defendants’ unlawful conduct has been intentional, willful, and in bad

faith, and has caused significant damage to plaintiff and the FLSA Collective.
19. The FLSA Collective would benefit from the issuance of a court-
supervised notice of the present lawsuit and the opportunity to join the present lawsuit.
Those similarly situated employees are known to II Bacco and are readily identifiable
and locatable through their records. These similarly situated employees should be
notified of and allowed to opt into this action, pursuant to 29 U.S.C. § 216(b).

TIME SHAVING AT IL BACCO

20. II Bacco has a policy and practice of shaving hours off of its employees’
time records, paying them for significantly fewer hours than they actually worked.

21.  Szanto regularly worked as a waiter three (3) to six (6) days a week.

22. Throughout his employment, Szanto regularly worked approximately
thirty (30) to sixty (60) hours per week.

23.  Szanto did not regularly take a break during his shifts, and if he did, he
was not permitted to leave the restaurant.

24. | Szanto was required to punch-in and punch-out at the beginning and er.d
of each shift, but he was not paid for all hours worked. For example, for the work we2k
of August 20, 2012 through August 26, 2012, Szanto’s time cards reflect forty-four (44)
hours worked but his paycheck reflected only thirty-five (35) hours paid.

25. ‘Il Bacco shaved approximately five (5) to nineteen (19) hours from
Szanto’s weekly paychecks.

26. Other waitstaff at II Bacco similarly did not receive pay for all hours they
worked.

THE UNLAWFUL RETENTION OF SERVICE CHARGES

27. Section 196(d) of the NYLL provides that an employer cannot accept “any

part of the gratuities, received by an employee, or retain any part of a gratuity or of any

charge purported to be a gratuity for an employee.”
 

28, At II Bacco, the entire second floor is reserved for catering events. Such
events can accommodate between 30 to 180 guests.

29. The waitstaff frequently worked banquets and private parties.

30. II Bacco would negotiate a “service charge” with the customer for these
events, regularly eighteen percent (18%) of the total bill.

31. Upon information and belief, customers believed these service charges
were gratuities which would be distributed to the waitstaff. These “service charges,”
however, were not remitted in their entirety to the waitstaff.

32. 1 Bacco’s skimming of gratuities from the waitstaff violated Section 196/d)
of the NYLL.

THE FAILURE OF IL BACCO TO
PAY WAGES AND OVERTIME PAY FOR ALL HOURS
WORKED OVER FORTY

33. The FLSA and NYLL require that employers pay all employees a
minimum wage for all hours worked weekly up to forty (40).

34. The FLSA and NYLL requires that employers pay employees one and one-
half (114) their regular rate of pay for all hours in excess of forty (40) during any work
week, unless they are exempt from coverage.

35. II Bacco did not pay Szanto or the FLSA Collective at the minimum wage
or overtime rate of one and one-half (1 4) the regular hourly rate for all hours worked in
excess of forty (40) per week, even though they often worked more than forty (40)
hours. The exact accounting of such wage theft can only be determined for plaintiff and
the FLSA Collective upon completion of discovery.

36. Throughout Szanto’s employment, the Federal and New York State hourly

minimum wage has been $7.25.

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TIP CREDIT VIOLATIONS

37. The FLSA and the NYLL allow employers of “tipped employees” to pay
their tipped employees at a rate below the federal and state minimum wages. From
July 24, 2009 to December 31, 2010, the New York State tip credit was $2.65 per hour.
From January 1, 2011 until the present, New York State tip credit has been $2.25.

38. The FLSA provides that in order to be eligible for a “tp credit,” employers
of tipped employees must provide notice of their intention to take a tip credit and allow
employees to keep all the tips that they receive, or forgo the tip credit and pay them the
full hourly minimum wage.

39. Defendants never informed Szanto and the FLSA Collective that it was
reducing their minimum wage by a tip allowance.

40. Because defendants unlawfully retained a portion of the waitstaff’s tips
and provided no notice of the tip credit, they were not entitled to reduce the minimura
wages of plaintiffs and the other waitstaff employed at the restaurant by applying the
tip credit allowance that is available under the FLSA and the NYLL.

41. Due to defendants’ improper use of the tip credit, 1 Bacco did not pay
Szanto or the FLSA Collective at the appropriate minimum wage of $7.25 per hour.

SPREAD OF HOURS PAY VIOLATION

42. Szanto and the FLSA Collective frequently work shifts that span more
than ten (10) hours per day.

43. For example, Szanto regularly worked at least ten (10) hours per day at
least three (3) days a week.

44, II Bacco did not pay Szanto or the FLSA Collective the required spread-of-
hours pay of an additional hour’s pay at the minimum wage for every day in which

their workday spans more than ten (10) hours.

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DEFENDANTS’ VIOLATIONS OF THE
WAGE THEFT PREVENTION ACT

45.  Szanto never received a notice containing the rate or rates of pay and basis
thereof, whether paid by the hour, shift, day, week, salary, piece, commission, or other;
allowances, if any, claimed as part of the minimum wage, including tip, meal, or
lodging allowances; the regular pay day designated by the employer in accordance with
NYLL §191; the name of the employer; any “doing business as” names used by the
employer; the physical address of the employer's main office or principal place of
business, and a mailing address if different; the telephone number of the employer, and
anything otherwise required by law.

FIRST CLAIM
(Fair Labor Standards Act - Unpaid Minimum Wage)

46. Plaintiff repeats and realleges paragraphs 1 through 45 as if fully set forth
herein.

47. Defendants are employers within the meaning of 29 U.S.C. §§ 203(e) ancl
206(a).

48. Defendants were required to pay to plaintiff and the FLSA Collective the
applicable federal minimum wage rate.

49, Defendants failed to pay plaintiff and the FLSA Collective the minimum.
wages to which they were entitled under the FLSA.

50. Defendants failed to pay plaintiff and the FLSA Collective for the actual
hours that they worked.

51. Defendants were aware or should have been aware that the practices
described in this Complaint were unlawful and have not made a good faith effort to

comply with the FLSA.
52.  Asaresult of defendants’ willful violations of the FLSA, plaintiff and the
FLSA Collective suffered damages by being denied minimum wages in accordance with
the FLSA in amounts to be determined at trial, and are entitled to recovery of such
amounts, liquidated damages, pre-judgment interest, post-judgment interest, attorneys’
fees and costs of this action, and other compensation pursuant to 29 U.S.C. § 216(b).

SECOND CLAIM
(New York Labor Law - Unpaid Minimum Wage)

53. Plaintiff repeats and realleges paragraphs 1 through 52 as if fully set forth
herein.

54. | Defendants are employers within the meaning of NYLL §§ 190, 651(5),
652, and supporting New York State Department of Labor Regulations, and employed
plaintiff.

55. Defendants failed to pay plaintiff and other waitstaff the minimum wages
to which they were entitled under the NYLL.

56. Defendants have willfully violated the NYLL by knowingly and
intentionally failing to pay plaintiff and other waitstaff the minimum hourly wage.

57. Asaresult of defendants’ violations of the NYLL, plaintiff and other
waitstaff are entitled to recover unpaid wages, reasonable attorneys’ fees and costs of
the action, liquidated damages and pre-judgment and post-judgment interest.

THIRD CLAIM
(Fair Labor Standards Act - Unpaid Overtime)

58. Plaintiff repeat and realleges paragraphs 1 through 57 as if fully set fort.

herein.

59. Defendants are required to pay plaintiff and the FLSA Collective one and

one-haif (114) times the regular rate of pay for all hours they worked in excess of forty
(40) hours in a workweek pursuant to the overtime wage provisions set forth in the
FLSA, 29 U.S.C. § 207, et seq.

60. Defendants have failed to pay plaintiff and the FLSA Collective the
overtime wages to which they are entitled under the FLSA.

61. Defendants have willfully violated the FLSA by knowingly and
intentionally failing to pay plaintiff and the FLSA Collective overtime wages.

62. Due to defendants’ violations of the FLSA, plaintiff and the FLSA
Collective are entitled to recover their unpaid overtime wages, liquidated damages,
reasonable attorneys’ fees and costs of the action, and pre-judgment and post-judgment
interest.

FOURTH CLAIM
(New York Labor Law - Unpaid Overtime)

63. Plaintiff repeats and realleges paragraphs 1 through 62 as if fully set forth
herein.

64. Under the NYLL and supporting New York State Department of Labor
Regulations, defendants were required to pay plaintiff and other waitstaff one and one
(144) half times the regular rate of pay for all hours they worked in excess of forty (40)
hours in a workweek.

65. Defendants have failed to pay plaintiff and other waitstaff the overtime
wages to which they were entitled under the NYLL.

66. Defendants have willfully violated the NYLL by knowingly and
intentionally failing to pay plaintiff and other waitstaff overtime wages.

67. Due to defendants’ willful violations of the NYLL, plaintiff and other
waitstaff are entitled to recover their unpaid overtime wages, reasonable attorneys’ fees
and costs of the action, liquidated damages and pre-judgment and post-judgment

interest.

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FIFTH CLAIM
(New York Labor Law ~ Spread of Hours Pay)

68. Plaintiff repeats and realleges paragraphs 1 through 67 as if fully set forth
herein.

69. Defendants have willfully failed to pay plaintiff and other waitstaff
additional compensation of one (1) hour’s pay at the basic minimum hourly wage rate
for each day during which they worked more than ten (10) hours.

70. By defendants’ failure to pay plaintiff and other waitstaff spread-of-hours
pay, defendants have willfully violated the NYLL Article 19, §§ 650, et seq., and the
supporting New York State Department of Labor Regulations, including, but not
limited to the Hospitality Industry Wage Order, 12 N.Y.C.R.R. §§ 146-1.6.

71. Due to defendants’ willful violations of the NYLL, plaintiff and other
kitchen workers are entitled to recover an amount prescribed by statute, reasonable
attorneys’ fees and costs of the action, pre-judgment and post-judgment interest, and
liquidated damages.

SIXTH CLAIM
(New York Labor Law Article 6 - Unlawful
Retention of Service Charges)

72. Plaintiff repeats and realleges paragraphs 1 through 71 as if fully set forth
herein.

73.  Atall times relevant, plaintiff and the waitstaff have been employees
within the meaning of NYLL §§ 190, et seq., and any supporting New York State
Department of Labor regulations.

74. Atall times relevant, II Bacco has been an employer within the meaning of
NYLL §§ 190, et seq., and any supporting New York State Department of Labor

regulations.

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75. Atall times relevant, defendants have been employers, agents, and/or
officers within the meaning of NYLL § 196-d and any supporting New York State
Department of Labor regulations.

76. The wage payment provisions of Article 6 of the NYLL and any
supporting New York State Department of Labor Regulations apply to II Bacco and
protect plaintiff and the waitstaff.

77. IL Bacco unlawfully retained a portion of the service charges and gratuities
earned by plaintiff and the waitstaff during banquet events in violation of the NYLL
and supporting New York State Department of Labor Regulations.

78. By II Bacco’s knowing or intentional demand for, acceptance of and/or
retention of a portion of the service charges paid by customers for banquet events, when
such customers had a reasonable expectation that such service charges would be paid in
their entirety as gratuities to plaintiff and waitstaff, II Bacco willfully violated NYLL
Article 6, § 196-d and the supporting New York State Department of Labor Regulations,
including, but not limited to, the regulations in 12 N.Y.C.R.R. § 137-2.5.

79. Due to II Bacco’s willful violation of the NYLL, plaintiff and the waitstaff
are entitled to recover from defendants their unpaid wages, reasonable attorneys’ fees,
liquidated damages, costs, and pre-judgment and post-judgment interest.

SEVENTH CLAIM
(New York Labor Law — Wage Theft Prevention Act)

80. Plaintiff repeats and realleges paragraphs 1 through 79 as if fully set forth
herein.

81. Defendants failed to furnish to plaintiff and other waitstaff, at the time of
hiring or prior to February 1, 2012 with a notice containing the rate or rates of pay and
basis thereof, whether paid by the hour, shift, day, week, salary, piece, commission, or

other; allowances, if any, claimed as part of the minimum wage, including tip, meal, or

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lodging allowances; the regular pay day designated by the employer in accordance with
NYLL § 191; the name of the employer; any “doing business as” names used by the
employer; the physical address of the employer’s main office or principal place of
business, and a mailing address if different; the telephone number of the employer, and
anything otherwise required by law; in violation of the NYLL § 195(1).

82. Due to defendants’ violation of the NYLL§ 195(1), plaintiff and other
waitstaff are entitled to recover from defendants liquidated damages of $50.00 per
workweek that the violation occurred, up to a maximum of $2,500.00, reasonable
attorneys’ fees, and costs and disbursements of the action, pursuant to the NYLL §
198(1-b).

83. As a result of defendants’ willful violations of the FLSA, plaintiff and
other waitstaff are entitled to recover from defendants for'front-pay, back-pay, mental
anguish, punitive damages, reasonable attorneys’ fees, liquidated damages and pre-
judgment and post-judgment interest.

PRAYER FOR RELIEF
WHEREFORE, plaintiff, on behalf of himself and the FLSA Collective,
respectfully requests that this Court enter a judgment:

a. authorizing the issuance of notice at the earliest possible time to all tipped
employees who were employed by defendants during the three years immediately
preceding the filing of this action. This notice should inform them that this action has
been filed, describe the nature of the action, and explain their right to opt into this
lawsuit;

b. declaring that defendants have violated the minimum wage provisions of

the FLSA and the NYLL;

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c. declaring that defendants have violated the overtime provisions of the
FLSA and the NYLL;

d. declaring that defendants have violated the spread-of-hours provisions of
the NYLL and the New York State Department of Labor Regulations;

e. declaring that defendants’ violations of the FLSA and NYLL were willful;

f. awarding plaintiff and the FLSA Collective damages for unpaid minimum
wages;

g. awarding plaintiff and the FLSA Collective damages for unpaid overtirne
wages;

h. awarding plaintiff liquidated damages as a result of defendants’ failure to
furnish a notice at the time of hiring pursuant to the NYLL;

i. disgorging from defendants and ordering that defendants remit back the
amount of the tips misappropriated from the wages of plaintiffs and the FLSA
Collective;

j. awarding plaintiff and the FLSA Collective liquidated damages in an
amount equal to twice the total amount of the wages found to be due, pursuant to the
FLSA and the NYLL;

k. awarding plaintiff and the FLSA Collective pre-judgment and post
judgment interest under the FLSA and the NYLL;

1. awarding plaintiff and the FLSA collective reasonable attorneys’ fees and
costs pursuant the FLSA and the NYLL,;

m. awarding such other and further relief as the Court deems just and

proper.

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DEMAND FOR TRIAL BY JURY

Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, plaintiff

demands a trial by jury in this action.

Dated: New York, New York
April 23 , 2013

BERKEWEI EGH LLP

 

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